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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. 2:19-CR-177-MCE
12                                Plaintiff,             STIPULATION REGARDING EXCLUDABLE
                                                         TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                          v.                           ORDER
14   GILDARDO BARRIOS (a.k.a. Edgar                      DATE: January 9, 2020
     Munguia),                                           TIME: 10:00 a.m.
15   MARISA MUNGUIA,                                     COURT: Hon. Morrison C. England, Jr.
     MARIA DOLORES BARRIOS-ALVAREZ
16
                                  Defendants.
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18
                                                 STIPULATION
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            Plaintiff United States of America, by and through its counsel of record, and defendant, by and
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     through defendant’s counsel of record, hereby stipulate as follows:
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            1.      By previous order, this matter was set for status on January 9, 2020, and then continued to
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     April 2, 2020, at 10:00 a.m., on the Court’s own motion.
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            2.      By this stipulation, the defendants now move to exclude time between the date of this
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     stipulation and order, and April 2, 2020, under Local Code T4.
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            3.      The parties agree and stipulate, and request that the Court find the following:
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                    a)     The government has represented that it is in the process of producing a significant
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            amount of discovery associated with including investigative reports, video surveillance,
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            photograph, laboratory reports, and audio recordings.

      STIPULATION REGARDING EXCLUDABLE TIME              1
30    PERIODS UNDER SPEEDY TRIAL ACT
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 1               b)      Counsel for defendants will need additional time to review the discovery.

 2        Defense counsel will also need time to review the current charges, to investigate and conduct

 3        research related to the current charges, and to discuss potential resolutions with their clients, to

 4        prepare pretrial motions, and to otherwise prepare for trial.

 5               c)      Counsel for defendants believe that failure to grant the above-requested

 6        continuance would deny them the reasonable time necessary for effective preparation, taking into

 7        account the exercise of due diligence.

 8               d)      The government does not object to the continuance.

 9               e)      Based on the above-stated findings, the ends of justice served by continuing the

10        case as requested outweigh the interest of the public and the defendant in a trial within the

11        original date prescribed by the Speedy Trial Act.

12               f)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

13        et seq., within which trial must commence, the time period of the date of this stipulation and

14        order, to April 2, 2020, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A),

15        B(iv) [Local Code T4] because it results from a continuance granted by the Court at defendant’s

16        request on the basis of the Court’s finding that the ends of justice served by taking such action

17        outweigh the best interest of the public and the defendant in a speedy trial.

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21                                         [Continued on next page.]

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     STIPULATION REGARDING EXCLUDABLE TIME              2
30   PERIODS UNDER SPEEDY TRIAL ACT
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 1          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

 2 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

 3 must commence.

 4          IT IS SO STIPULATED.

 5   Dated: January 15, 2020                         MCGREGOR W. SCOTT
                                                     United States Attorney
 6
                                                     /s/ JAMES R. CONOLLY
 7                                                   JAMES R. CONOLLY
                                                     Assistant United States Attorney
 8
     Dated: January 15, 2020                         /s/ LEXI NEGIN
 9
                                                     LEXI NEGIN
10                                                   Counsel for Defendant
                                                     GILDARDO BARRIOS
11   Dated: January 15, 2020                         /s/ MARY ANN F. BIRD
                                                     MARY ANN F. BIRD
12                                                   Counsel for Defendant
                                                     MARISA MUNGUIA
13   Dated: January 15, 2020                         /s/ DANIEL L. OLSEN
14                                                   DANIEL L. OLSEN
                                                     Counsel for Defendant
15                                                   MARIA DOLORES BARRIOS-ALVAREZ

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18                                                    ORDER

19          IT IS SO ORDERED.

20 Dated: January 21, 2020
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      STIPULATION REGARDING EXCLUDABLE TIME               3
30    PERIODS UNDER SPEEDY TRIAL ACT
